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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                     FORT PIERCE DIVISION

                            CASE NO. 21-14341-CIV-CANNON/Maynard

  HOWARD COHAN,

           Plaintiff,
  v.

  LIBERTY VERO LLC, a Florida Limited Liability
  Company d/b/a HAMPTON INN VERO BEACH,

           Defendant.
                                                                  /

                         ORDER ADMINISTRATIVELY CLOSING CASE

           THIS CAUSE is before the Court upon the parties’ Joint Notice of Settlement

  [ECF No. 19], filed on October 15, 2021, in which the parties advise that they have settled this

  matter. The Court has carefully reviewed the file and is fully advised. Accordingly, it is hereby

  ORDERED AND ADJUDGED as follows:

        1. The above-styled action is administratively CLOSED without prejudice to the parties to

           file a Stipulation for Dismissal within thirty (30) days of the date of this Order.

        2. If the parties fail to complete the expected settlement, either party may request the Court

           to reopen the case.

        3. The Clerk shall CLOSE this case for administrative purposes only. Any scheduled

           hearings are CANCELED, any pending motions are DENIED AS MOOT, and all

           deadlines are TERMINATED.

           DONE AND ORDERED in Fort Pierce, Florida this 18th day of October 2021.



                                                             _________________________________
                                                             AILEEN M. CANNON
                                                             UNITED STATES DISTRICT JUDGE
  cc:      counsel of record
